USDC IN/ND case 2:20-cv-00160-PPS  document 5 filed 03/19/20 page 1Filed:
                         45C01-2003-CT-000307
                                                                    of 14 3/7912020 3:28 PM
                                                                                                          Clerk
                                               Lake Circuit Court                          Lake County, Indiana




STATE OF INDIANA              )                    LAKE CIRCUIT/SUPERIOR COURT
                              )          ss:
COUNTY OF LAKE                )

CINTAS CORPORATION

                      Plaintiff,
       V.                                                       Cause No.

JUPITER ALUMINUM CORPORATION

                      Defendant.

                                               COMPLAINT

       The plaintiff, Cintas Corporation, states as follows for its complaint against the

defendant, Jupiter Aluminum Corporation.

                                                   Parties

       1.      Jupiter Aluminum Corporation ("Jupiter") is an Illinois corporation with its

registered principal place of business at 1745-165`h Street, Hammond, IN 46320.

       2.      Cintas Corporation ("Cintas") is a Nevada corporation with a principal office at

6800 Cintas Blvd., Cincinnati, OH 45262.

       3.      Cintas maintains a facility at 1303 Kenwood Street, Hammond, IN 46320 from

which it provided services to Jupiter.

                                     Jurisdiction and Venue

       4.      Lake County is the location where the principal office of the defendant

organization is located. Lake County is also the location of the office of the defendant

organization to which the claim relates and out of which the claim arose.

       5.      Venue is proper in Lake County.

       6.      The Court has personal jurisdiction over the parties to this action.
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 2 of 14




       7.      Cintas asserts claims for breach of contract and quantum meruit (contract

implied-in-fact) and quantum meruit (contract implied-in-law).

       8.      The Court has subject-matter jurisdiction to decide this case.

                                       Factual Allegations

       9.      On or about February 4, 2008 Jupiter and Cintas entered into a Flame Resistant

Garment Service Agreement (the "Agreement").

       10.     A true and complete copy of the Agreement is attached hereto as Exhibit 1.

       11.     The Agreement was signed by an authorized representative of Jupiter.

       12.     The Agreement was signed by an authorized representative of Cintas.

       13.     The Agreement was a valid and enforceable contract.

       14.     Under the terms of the Agreement, Cintas agreed to acquire certain

flame-resistant garments specific for the use of Jupiter.

       15.     The flame-resistant garments to be acquired under the Agreement were unique to

the needs of Jupiter.

       16.     Cintas purchased the flame-resistant garments specifically for Jupiter's use.

       17.     Under the terms of the Agreement, Cintas agreed to rent the flame-resistant

garments to Jupiter.

       18.     Under the terms of the Agreement, Jupiter agreed to pay Cintas certain

enumerated weekly rental fees for flame-resistant garments.

       19.     Under the terms of the Agreement, Jupiter agreed to pay Cintas certain other

specified charges.




                                                  2
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 3 of 14




        20.     Under its terms, the Agreement remained in effect for 60 months from the date of

installation.

        21.     Under its terms, the Agreement automatically renewed for additional 60-month

periods unless Jupiter notified Cintas to the contrary in writing 180 days in advance of the

expiration of the then current term.

        22.     Jupiter did not notify Cintas of an intent to cancel the Agreement in writing 180

days in advance of the expiration of the original term.

        23.     The Agreement renewed for an additional 60-month period on or about February

4, 2013.

        24.     On July 8, 2013, Jupiter sent a letter to Cintas claiming that it was cancelling the

Agreement.

        25.     Notwithstanding Jupiter's July 8, 2013 cancellation letter, Cintas continued to

provide flame resistant garment services to Jupiter as Cintas had been providing under the

Agreement.

        26.     Notwithstanding Jupiter's July 8, 2013 cancellation letter, Jupiter continued to

receive and accept flame resistant garment services from Cintas as Jupiter had been receiving

under the Agreement.

        27.     Notwithstanding Jupiter's July 8, 2013 cancellation letter, Jupiter continued to pay

Cintas for flame resistant garment services as Jupiter had been paying under the Agreement.

        28.     Jupiter did not notify Cintas of an intent to cancel the Agreement in writing 180

days in advance of the expiration of the first renewal term.




                                                 3
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 4 of 14




       29.     The Agreement renewed for an additional 60-month period on or about February

4, 2018.

       30.     Jupiter notified Cintas on October 21, 2019 that Jupiter would be receiving new

garment rental service effective October 25, 2019.

       31.     Jupiter's October 21, 2019 notice to Cintas did not provide 180 days' notice of its

intent to cancel the contract.

       32.     Jupiter's October 21, 2019 notice to Cintas was not 180 days' notice in advance of

the expiration of the then current term.

       33.     On or about October 22, 2019, Cintas delivered a letter to Jupiter notifying Jupiter

that Cintas was willing to continue to provide flame resistant garment services.

       34.     On or about October 22, 2019, Cintas also notified Jupiter of its obligation under

the Agreement to buy-back all non-standard garments that Cintas purchased on behalf of Jupiter.

       35.      On or about October 22, 2019, Cintas estimated the buy-back amount to be

$672,974.30.

       36.      On October 30 and November 1, 2019, Cintas again notified Jupiter that Cintas

was willing to continue to provide flame resistant garment services.

       37.      Cintas continued to provide flame resistant garment services to Jupiter until

November 7, 2019.

       38.      Jupiter continued to receive and accept those services from Cintas until November

7, 2019.

       39.      On November 7, 2019, Jupiter notified Cintas that it was terminating Cintas's

services effective immediately.



                                                4
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 5 of 14




       40.     Jupiter's November 7, 2019 notice to Cintas did not provide 180 days' notice of its

intent to cancel the contract.

       41.     Jupiter's November 7, 2019 notice to Cintas was not 180 days in advance of the

expiration of the then current term.

       42.     On or about December 12, 2019, Cintas delivered a letter to Jupiter which notified

Jupiter of past due invoices with a total balance of $98,010.90 ("Past Due Invoice Amount"). A

true and correct copy of the letter is attached hereto as Exhibit 2.

        43.    The Cintas letter delivered on or about December 12, 2019 notified Jupiter of its

obligation under the Agreement to buy-back all non-standard garments that Cintas purchased on

behalf of Jupiter.

        44.     On or about December 12, 2019, Cintas notified Jupiter of a buy-back amount of

$636,140.13 ("Buy-Back Amount").

        45.     On or about December 12, 2019, Cintas demanded payment of the Past Due

Invoice Amount by December 16, 2019.

        46.     On or about December 12, 2019, Cintas demanded payment or an agreement as to

the Buy-Back Amount by December 16, 2019.

        47.     On or about December 12, 2019, Cintas requested an agreement to arbitrate under

the Agreement by December 16, 2019.

        48.     Jupiter has not paid the Past Due Invoice Amount demanded by Cintas on or

about December 12, 2019.

        49.     Jupiter has not paid the Buy-Back Amount demanded by Cintas on or about

December 12, 2019.



                                                   l,
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 6 of 14




       50.       Jupiter has not agreed to arbitrate under the Agreement as requested by Cintas on

or about December 12, 2019.

                                                  Count I
                                             Breach of Contract

           51.   Cintas re-states paragraphs 1 through 50 above as if set forth in full herein.

           52.   The Agreement between Cintas and Jupiter is a contract.

           53.   The contract between Cintas and Jupiter is valid.

           54.   The contract between Cintas and Jupiter is enforceable.

           55.   The contract required Cintas to provide flame-resistant garment services to

Jupiter.

           56.   Cintas provided flame resistant garment services to Jupiter.

           57.   Cintas performed its contractual obligations by providing flame-resistant garment

services to Jupiter.

           58.   Jupiter materially breached the contract by providing less than 180 days' notice of

its intent to terminate the contract.

           59.   Jupiter materially breached the contract when it failed and refused to pay for the

flame-resistant garment services it received from Cintas.

           60.   Jupiter materially breached the contract by failing to pay for the flame-resistant

garment services it received from Cintas.

           61.   Cintas materially performed its obligations under the contract.

           62.   Due to Jupiter's material breach of the contract, Cintas has sustained damages.




                                                   0
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 7 of 14




                                          Count II
                           Quantum Meruit (Contract Implied-in-Fact)

        63.      Cintas re-states paragraphs 1 through 62 above as if set forth in full herein.

        64.      Jupiter requested flame resistant garment services from Cintas.

        65.      Jupiter received flame resistant garment services from Cintas.

        66.      Jupiter requested flame-resistant garments from Cintas that were unique to the

needs of Jupiter.

        67.      Cintas purchased and provided the flame-resistant garments specifically for

Jupiter's use.

        68.      Jupiter used the flame-resistant garments provided by Cintas.

        69.      Jupiter made some payments to Cintas for the flame-resistant garment services it

received from Cintas.

        70.      The actions of the parties constitute a contract implied-in-fact.

        71.      On or about December 12, 2019, Cintas made demand on Jupiter for payment of

the Buy-Back Amount and Past Due Invoice Amount.

        72.      The Buy-Back Amount that Cintas demanded from Jupiter was for the value of

the unique flame-resistant garments Cintas provided to Jupiter.

        73.      The Past Due Invoice Amount Cintas demanded from Jupiter was for flame

resistant garment services Cintas provided to Jupiter.

        74.      Jupiter has not paid the amounts demanded by Cintas.

        75.      Jupiter has been unjustly enriched by its failure to pay Cintas the amounts

demanded.




                                                   7
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 8 of 14




                                         Count III
                           Quantum Meruit (Contract Implied-in-Law)

        76.      Cintas re-states paragraphs 1 through 75 above as if set forth in full herein.

        77.      Jupiter requested flame resistant garment services from Cintas.

        78.      Jupiter received flame resistant garment services from Cintas.

        79.      Jupiter requested flame-resistant garments from Cintas that were unique to the

needs of Jupiter.

        80.      Cintas purchased and provided the flame-resistant garments specifically for

Jupiter's use.

        81.      Jupiter used the flame-resistant garments provided by Cintas.

        82.      Jupiter made some payments to Cintas for the flame-resistant garment services it

received from Cintas.

        83.      The actions of the parties constitute a contract implied-in-law.

        84.      On or about December 12, 2019, Cintas made demand on Jupiter for payment of

the Buy-Back Amount and Past Due Invoice Amount.

        85.      The Buy-Back Amount that Cintas demanded from Jupiter was for the value of

the unique flame-resistant garments Cintas provided to Jupiter.

        86.      The Past Due Invoice Amount Cintas demanded from Jupiter was for flame

resistant garment services Cintas provided to Jupiter.

        87.      Jupiter has not paid the amounts demanded by Cintas.

        88.      Jupiter has been unjustly enriched by its failure to pay Cintas the amounts

demanded.




                                                   q-,
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 9 of 14




                                           CountIV
                                      Demand for Arbitration

        89.     Cintas re-states paragraphs 1 through 88 above as if set forth in full herein.

        90.     Paragraph ten of the Agreement contains an arbitration clause.

        91.     As an alternative remedy, Cintas requests an order of the Court ordering Jupiter to

arbitrate the parties' dispute.

        92.     Alternatively, Cintas requests a Court order finding that Jupiter has waived the

arbitration clause and that Cintas may proceed against Jupiter in this proceeding.



        WHEREFORE, the plaintiff Cintas Corporation, prays that it be awarded judgment in its

favor, and against the defendant, Jupiter Aluminum Corporation, for the following relief:

        (a) an amount sufficient to compensate it for its damages and losses from defendant's

breach of contract;

        (b) compensation for the benefits improperly conferred on defendant as a result of its

wrongful conduct, lest the defendant be unjustly enriched;

        (c) pre judgment interest;

        (d) its costs and expenses laid out and expended herein, including its attorney's fees and

costs of collection; and

        (e) all other relief appropriate in the premises.




                                                   G]
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 10 of 14




                                 Respectfully submitted,

                                 EICHHORN & EICHHORN, LLP


                                 By: /s/ David J. Beach
                                         David J. Beach
                                         Ryan A. Cook
                                         Attorneys for plaintiff,
                                         Cintas Corporation
David J. Beach, #18531-45
Ryan A. Cook, #26798-49
EICHHORN & EICHHORN, LLP
ATTORNEYS AT LAW
2929 Carlson Drive, Suite 100
Hammond, Indiana 46323
Tel. (219) 931-0560
dbeach@eichhorn-law.com
rcook@eichhorn-law.com
USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 11 of 14




                                                 Jury Demand

          Plaintiff, Cintas Corporation, hereby demands trial by jury of all claims triable of right to

a jury.


                                                /s/ David J. Be~
                                                David J. Beach




                                                   11
       USDC
         ~  IN/ND
                t case 2:20-cv-00160-PPS  document 5 filed 03/19/20 page 12Filed:
                                 45C01-2003-CT-000307                        of 143/19/2020 3:28 PM
                                                                                               Clerk
                                                              Lake Circuit Court                         Actrei~rr~erit N~,___             ____.Lake County, Indiana

                                                                                                          :;ustomer No_                    r 7
 FLAME RESx sTANT GARM.1r',.N-r SEFMCP AGREEMENT
                                                                                                           Date,.~~5a1~~%~_ _

  Customer     ~~/~(i~.~~/l~G%l/~!~_:                                                          _.— f'hone..//—


  Acidress.~~~~._1.~1~~                                                             City                 l6L~_              Staie      6!V zip._....14~?2-0
                                                                                                                     _
  t3M1lIP4"JR1V1 PFiltrlidG:
                                                                                           Color         Inventory         Changes_            Weelcly Price

                                                                                                                                               .~o~/
                                                                                    I(l~~                                                              ~
                                                                                       I&V
                    ~:._..~LL~Z5




      The additional charges listed below are subject to adjustmer,t by Company effective upon notice to Customer, which notice may be in
      the form of an invoice.

  o Name Emblem     $                  ea ® Company Emblem              $          ____ ea
  ® Custom Emblem $                    ea a Embroidery                  $              ea
  m COD Terms       $.. .. _. _____ per week charge for prior service (if Amount Due is Carried to Following Week)
  * Weekly Minimum Charge $__77Yr?o per week
  e Make-Up Charge            $__~....~jQ.._... per garment.
  • Seasonal Sleeve Change $_~.                 per change per week.
  • EPA Regulations prohibit (40 CFR 261,262) the transport of lextiles bearing free liquid, Shop towels may not be used to clean up oil or
      solvent spills. Shop Towel container      $_-__.._._...._-.._..._.. iper week.
  •   Artwork Charge for LogoMal         $
  •   Special Cut Garment Charge         $~
  •   Uniform Storage          Lockers: $._                               Laundry Lock-up: $__~_-zp    ea(week Shipping:
  •   Service Charge                     $ a._'l5-  - per week.
      This Service Charge is used to help Company pay various fluctuating current and future costs including, but not limited to, costs directly
      or indirectly related to the environment, energy issues, service and delivery of goods and services, in addition to other miscellaneous
      costs incurred or that may be incurred in the future by Company.
  • Size Change: Customer agrees to have employees measured by a Cintas representative using garment "size samples". A charge
    of $~~ . •/'                                                                   g stze cnangeci witmn a weeKs ot mstauation.
                                           per garment wni be assesseo tor empioyee;
      Other
                   ~v`fj
              ~+-S 7~            , raii i /~~ri,` ~,l. r ~a~(JlfY~ %~t' i~l.•~ ~ sn~!'~:i ,~Yr s ~                                         f


  • Credit Terms - Charge Payments Due 10 Days After End of Month

  FACILITY SPRVtCES PRODUCTS PRICiNG:
                                 Description                                  Del. Freq,           Inventory             Unit Price    I
                                                                                                                                               Repl. Value




                                                                     Customer

Cintas Loc, No. _ v—_ ~    x                      --        Please Sign Name

               By   _'~J' `~r ~!`_~                    -   . Please Print Narn~~'C' )                      ✓~~fl~                                              -
                        ✓/~                                                     l~/
              TItIe`
                  ~~
                  Z                                           Please Print Titt
                                                                             e~,,. _.m._.,.. ~...___ ~                      .         __............_....._— ~_
                                 Form Distribution: (1) White-Customer          (2) Canary-Office         (3) Pink-Corporate Office
                                                                             Page 7 of 2                                                             Exhibit I
  R-z,00e I,orozy
e..... .,. .. . . : - ....... ~- ,-:.~.. ~ -_ ,x-x:x=_~xz_~;:~+.:.~r..•.•..:.•:-~.:'.s..'%_"~::.~a-,m'=4`—w.x..w.-i.e.+•rx: r. - ~. , z... . .-   .        ..w.ca.~.r..

                         USDC IN/ND case 2:20-cv-00160-PPS document 5 filed 03/19/20 page 13 of 14

                                                                    FLAtVIE RESISTAfVT GARMENl' SERVlCE ACREEtNEIVT
              FtiU.M 1•1 O 71 M P:t' 0•P tt:F" .


                   The customer, its successors and assigns ("Customer") orders from CINTAS •.CORPORATION or any of its
                 subsidiaries, successors and assigns ("Company") all of the Customer's requirements of garment rental services and
                 other items covered by this agreement during the term of this agreement, all in accordance with the pricing, terms and
                 conditions contained herein.
                  AII garments will be cleaned and maintained by Company. Any garments that require replacement due to normal
                 wear will be replaced by Company at no charge to Customer.
                   Customer bears full responsibility for sefecting the fabrics under this agreement. Customer acknowledges that
                 Company has made no representation, warranty, or covenant with respect to the flame-resistant qualities of the fabrics
                 or garments or with respect to the fitness or suitability of the fabrics or garmetits for this purpose. Customer acknowfedges
                 that numerous manufacturers market fabrics represented to be flame-resistant. Company makes no independent .
                 representation as to the flame-resistant quaiities of the fabric selected by Customer as compared to other avaifable
                 fabrics or fabrics which may become available in the future. Customer agrees to notify all employees of Customer who
                 wili be wearing the flame-resistant garments that the garments are hot designed for long term high heat exposure or
                 for use around open fiames and that no representation is made as to the garment's ability to protect- users from injury
                 or death.                                 !
                   Customer agrees to notify Company, in writing, of any hazardous materiais that may be picked up by Company in
                 the soiled garments or other textifes serviced under this agreement. In no case will hazardous materials be present to
                 the' ezterit that the maybe harmful to ' ComPan
                                     Y~~                         Y's emPloYees:
                                                                                                                                     ~
                   Additional Customer empioyees, products and services may be added to this agreement and shall automatically
                 become part of and subject to the terms herein. The weekiy rental charge.:for any individual leaving the empioy of
                 Customer can be terminated, but oniy after all garments issued to tjlat.in.dividual, or the value o.f same, have been
                 returned to Company. AII garments.and other.rented-items remain-the property of C.ompany. If rental items,are lost or,
                 destroyed by any means, Customer will pay the then current replacement.values for said items.
                   This agreement is effective as of the date of execution above and shall remain in effect for 60 months from the date
                 of installation. This agreement shall automatically renew for the same period of time unless Company is notified, to the
                 contrary, in writing 180 days in advance of the expiration of the then current'term. Upon each anniversary date of this
                 agreement, Company will automatically increase the prices then in effect by the amount of the increase in the Consumer
                 Price Index for the previous twelve months or 5%.
                   Customer hereby agrees to defend, indemnify and hold harmless Company from any clainis and damages arising
                 out of or associated with this agreement, including any failure of the garments to function as flame-resistant. Further,
                 Customer releases Company from any and all liability that results or may result from the failure of the garmenis to
                 function as fiame-resistant.
                   Company guarantees to deliver the highest quafity textife rental service at all times. Any compiaints about
                 the quality of the service which have not been resoived in the normal course of business must be sent by
                 registered letter to Company's General Manager. If Company then faiis to resoive any material compiaint in a
                 reasonabie period of time, Customer may terminate this agr.eement provided ali rental items are paid for at the
                 then current repiacement vafues.
                   Customer has ordered from Company a garment rental service requiring flame-resistant garments that are not standard
                 to Company's normal rental product line. If Customer defetes any non-standard product, alters the design of the
                 non-standard product, fails to renew this agreement, or this agreement is terminated for documented quality of service
                 reasons which are not cured as set for the above, Customer agrees to buy back all non-standard products allocated
                 to Customer at the then current replacement values. If Customer cancels this agreement prior to the appiicable expiration
                 date for any other reason, or Company terminates this agreement for cause, Customer will pay to Company, as liquidated
                 damages and not as a penalty, the greater of the average weekly invoice total multiplied by the number of weeks
                 remaining in the unexpired term or buy back all garments allocated to customer at the then current replacement values.
                 Customer shall also be responsibie for any unpaid charges on Customer's account prior to termination.
                   Any dispute or matter arising in connection with or relating to this agreement shall be resolved by binding and final
                 arbitration under applicable state or federal laws providing for the enforcement of agreements to arbitrate disputes.
                 Any such dispute shall be determined on an individual basis, shall be considered unique as to its facts, and shall not
                 be consolidated in any arbitration or other proceeding with any claim or controversy of any other party.
                  In consideration of the sizeable investment Company is making in flame-resistant garments, Customer guarantees
                 Company minimum weekly revenue equal to 85%of the initial invoice;
                                                                                  I provided, however, the minimum weekly revenue
                 amount will increase by an amount equal to 85% of any increases in the weekly invoice.
                   Customer certifies that Company is in no way infringing'upon any'existing contract between Customer and any other
                 service provider.                                    „   ~             ~
                 R•2100B (10/02)
                                                                                                                                                      Exhibit 1
                                                                                                     Page 2 of 2
USDC IN/ND case 2:20-cv-00160-PPS  document 5 filed 03/19/20 page 14Filed:
                          45C01-2003-CT-000307                        of 143/19/2020 3:28 PM
                                                                                                                      Clerk
                                                Lake Circuit Court                                     Lake County, Indiana



  ciNTAs.
      ~



 RBADY FOR THB WORKDAYTM




William J. Kenealy

Jupiter Aluminum



Dear Mr. Kenealy,



         Jupiter Aluminum has a significant pa.st due balance which needs to be addressed,
Znvoices due on September 10, October 10, November 10 a.nd December 10 have not been paid
for a total balance due of $98,0 10,90. Please see that this balance is paid promptly.

        We also still need to address and resolve Jupiter Aluminum's termination of the service
agreement. As set forth in my email of November 4, the buy-back of the non-standard products
allocated to Jupiter Aiuminuzxx is $636,140.13. I have attached an invoice in that amount.

        If Cintas does not havc payment of the outstanding invoices and an agreement regarding
Jupiter Aluminum's buy back of non-standard products by December 16, Cintas is requesting
arbitration under paragraph ten of the service agreement. Please provide payment or Jupiter
Aluminum's agreernent to arbitrate by Decernber 16, 2019



Sil - ely,

               ,~ GC
 ason Rieger
General Manager




                Cintas Corporation 1303 Kenwood Hammond, IN 46320 Offlce 219.852.2600 www,cintas.com
                                                                                                         Exhibit 2
